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                             Case No. 21-10233

                    United States Court of Appeals
                         for the Ninth Circuit


United States of America,

           Plaintiff/Appellant,          D.C. No. 3:20-cr-00026-MMD-WGC
                                         (Reno, Nevada)
v.

Gustavo Carrillo-Lopez,

           Defendant/Appellee.



              Appeal from the United States District Court
                        for the District of Nevada

       Appellee Gustavo Carrillo-Lopez’s Answering Brief


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                      Jurisdictional Statement

     Appellee Carrillo-Lopez agrees with the government’s

jurisdictional statement. OB-3.



                            Detention Status

     Carrillo-Lopez is serving a drug-related state sentence in the

Nevada Department of Corrections. 4-ER-600–601.



                     Issue Presented for Review

     Whether the district court correctly held 8 U.S.C. § 1326 violates

the Fifth Amendment under Arlington Heights.



       Relevant Constitutional Provisions and Statutes

     The attached Addendum contains the relevant materials.




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                                Introduction

     After extensive fact-finding and analysis, the district court

correctly applied precedent to hold, under the totality of circumstances,

Congress violated the Fifth Amendment’s prohibition against race

discrimination by enacting 8 U.S.C. § 1326 with a discriminatory

purpose. 1-ER-2; Vill. of Arlington Heights v. Metro. Housing Dev.

Corp., 429 U.S. 252 (1977). The decision below accurately considered

the reprehensible anti-Latino intent and history undergirding § 1326.1

The government did not attempt to argue the law was not infected by

this racial animus, nor did it prove the law would have been enacted in

its absence. 1-ER-2. This Court should affirm the district court’s well-

reasoned opinion dismissing the indictment. 1-ER-2–45.




     1 “Latino” refers to people from Latin American countries,
including Mexico. The terms “Hispanic” (people from predominately
Spanish-speaking countries) or “Mexican” (people from Mexico) have at
times been used interchangeably. For the sake of clarity and
inclusiveness, the general term “Latino” will be used when discussing
earlier law.

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     Section § 1326 originated in 1929 when openly racist “nativist” 2

congressmen wanted to keep the American bloodline “white and purely

Caucasian,” 1-SER-223, while still maintaining a cheap, exploitable

Latino workforce. See 1-ER-25; 2-ER–94–95. For two decades, the

illegal reentry law worked as intended, ensnaring tens of thousands of

Latinos in the cycle of entry–labor–prosecution–deportation. 1-ER-26.

     By 1952, several of the same 1929 legislators held positions of

authority in Congress and the White House. They faced a crucial choice

about the future of illegal reentry: (1) carry forward the illegal reentry

provision without debate, including any discussion of its known

discriminatory purpose and effect; (2) debate the provision and reenact

it; or (3) repeal it. Congress chose the first option. 1-ER-18–19.

     Relying on unrebutted evidence, the district court correctly

concluded Congress enacted § 1326 with discriminatory intent and that

the government failed to prove the same law would have been passed

absent discriminatory intent. 1-ER-27. Both below and on appeal, the




     2 “Nativists” were legislators opposed to non-white immigration,
based on beliefs of white supremacy and eugenics. 1-ER-14, 16, 22, 43;
2-ER-89.

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government does not challenge the historical record. Instead, the

government misreads well-established precedent, insisting that

congressional immigration power exempts the § 1326 criminal law from

the close judicial review applied to facially-neutral yet racially-

discriminatory statutes. This Court should decline the government’s

unprecedented attempt to insulate criminal laws from equal protection

challenges and affirm dismissal.

                          Statement of the Case

I.   8 U.S.C. § 1326 charge

     Carrillo-Lopez was brought to the United States as a child.

Immigration authorities removed him from the United States in 1999

and 2012 after addiction-related state drug and alcohol convictions. 4-

ER-606–607.

     In June 2019, police broke down the door to his family home and

found a baggie containing 28 grams or more of methamphetamine. 2-

SER-317–324. At that time, non-violent drug possession fell under




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Nevada’s “trafficking” statute. 3 4-ER-579; 2-SER-319. Carrillo-Lopez

pled guilty in state court and received a life sentence with the

possibility of parole after ten years. 2-SER-326–329.

      Despite the life sentence he is now serving, the federal

government pursued an “illegal reentry” charge under 8 U.S.C. § 1326

in June 2020. 4-ER-606–607.

II.   Motion to Dismiss

      Carrillo-Lopez moved to dismiss the indictment under the Fifth

Amendment’s Due Process Clause. 4-ER-556–590; 1-SER-37–300; 2-

SER-301–329. An oral argument, evidentiary hearing, and

supplemental briefing followed, with two defense experts detailing the

racist history of the illegal reentry statute. 1-ER-16 n.10; 2-ER-47–259;

4-ER-445–505; 1-SER-2–36. 4




      3See Nev. Rev. Stat. § 453.3385(1)(c) (2019). Today, this offense
constitutes “unlawful possession not for purpose of sale” and carries a
10-year maximum sentence. Nev. Rev. Stat. § 453.366(2)(d) (2021).
      4This legislative record for 8 U.S.C. § 1326 is also detailed in the
Affidavit of Dr. S. Deborah Kang, Associate Professor of History at the
University of Virginia, filed in United States v. Munoz-De La O, No.
2:20-cr-00134-RMP, ECF No. 78-B (E.D. Wash. Dec. 22, 2021).

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     In its opening brief the government truncates the legislative

record, minimizing the law as a congressional attempt to “dissuade

those who had been removed from returning.” OB-4–8. Because the

district court relied on the full legislative record from the 1920’s

forward, Carrillo-Lopez summarizes the history of § 1326 to assist this

Court’s review.

     A.     Rampant anti-Latino racism and discrimination in
            the 1920s led to criminalizing illegal reentry.

     Congress criminalized illegal reentry at the end of the 1920s, a

decade in which “the Ku Klux Klan was reborn, Jim Crow came of age,

and public intellectuals preached the science of eugenics.” 2-ER-88–89;

4-ER-584. In the southwestern United States, a system of “Juan Crow”

Latino segregation developed, paralleling “Jim Crow” segregation of

Black Americans in the South. 1-ER-14; 2-ER-93–94, 120–21; 4-ER-

586. “Police violence against Mexicanos was common. And, ‘No

Negroes, Mexicans, or Dogs’ signs were posted on restaurant doors.” 4-

ER-586. Latino immigrants lived segregated, disenfranchised lives,

stereotyped and degraded by popular eugenics theorists, who preached

the supremacy of white Northern and Western Europeans. 1-ER-14; 2-

ER-88–89, 93–94; 4-ER-584–586.


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     This racist sentiment pervaded the highest levels of government,

including Congress. Based on eugenics, Congress worked towards a

“Whites-only” federal immigration system. 4-ER-584–585. Congress

received testimony and four reports from leading eugenics theorist Dr.

Harry H. Laughlin, whose beliefs were adopted by the Third Reich of

Nazi Germany. 5 1-ER-15; 1-SER-106–108.

     Swayed by Dr. Laughlin’s theories, Congress passed immigration

legislation throughout the 1920s to exclude “undesirable” immigrants.

1-ER-16; 4-ER-584–585. In 1921, Congress passed its first numerical

immigration restrictions based on race. See Emergency Quota Act of

1921, Pub. L. No. 67-5, 42 Stat. 5. Then in 1924, Congress refined the

“quota” system to keep the nation predominantly Anglo-Saxon. See

Johnson-Reed National Origins Act of 1924, Pub. L. No. 68-139, 43 Stat.

153; see also 1-ER-13–14; 2-ER-88–89, 128–129; 4-ER-585. Nearly all

immigration quota slots—96%—were reserved for white Europeans. 1-

ER-13; 4-ER-585.




     5  4-ER-563 (citing Harry Laughlin and Eugenics, Truman State
University (2020), https://historyofeugenics.truman.edu/altering-lives/
sterilization/model-law/).

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     Yet there was a problem—the National Origins Act did not set

quotas on Latino immigrants because agribusiness interests

successfully lobbied to keep the country open to exploitable Latino

labor. 1-ER-14; 2-ER-88–91; 4-ER-585; 4-ER-585–586. Texas

Representative John Box complained Latino immigrants were

unchecked because southwestern farms were “interested in the

importation of these poor peons.” 1-SER-199. Illinois Representative

Martin Madden added the 1924 bill “leaves open the doors for perhaps

the worst element that comes into the United States—the Mexican

peon.” 65 Cong. Rec. 5841 (1924). Connecticut Representative Patrick

O’Sullivan criticized the lack of restrictions on Latino immigrants

compared to white Italian immigrants: “the average Italian is as much

superior to the average Mexican as a full-blooded Airedale is to a

mongrel.” 1-ER-216. Legislators “proposed bill after bill” restricting

Latino immigration, but none could survive the powerful agribusiness

lobbyists. 1-ER-14; 4-ER-587.




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     B.     Against this discriminatory backdrop, Congress
            criminalized illegal reentry in the “Undesirable
            Aliens Act” 6 of 1929.

     To resolve the standoff between agribusiness and the legislature,

“proud and unreconstructed white supremacist” South Carolina Senator

Coleman Blease proposed approaching immigration criminally. See 4-

ER-565–566. By criminalizing illegal reentry rather than impose civil

restrictions at the border, Latino laborers could work during the

growing season, then be expelled through criminal prosecution after the

harvest. See 4-ER-565–566; 2-ER-95, 193.

     The House of Representatives’ powerful Immigration and

Naturalization Committee pushed forward the 1929 Act. 4-ER-566.

This Committee’s Chairman was Rep. Albert Johnson, for whom the

1929 Act was named, a “vehement racist and nativist,” who was

“especially concerned for the racial purity of the country.” 4-ER-566.




     6  The government attempts to create a factual dispute on appeal
about the 1929 statute’s official name. OB-5 n.2. But the government
does not dispute the “Undesirable Aliens Act” is the title the Senate
provided. 70 Cong. Rec. 3542 (1929). Nor did the government dispute
this title is widely accepted, as explained by Carrillo-Lopez’s unrebutted
expert testimony. 1-ER-142–143, 147–148, 150–152, 156–157, 163, 193,
202, 242.

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       The House Immigration Committee held a eugenics hearing with

Dr. Laughlin as the principal witness. 1-SER-104–192; 4-ER-567;

Eugenical Aspects of Deportation, Hearings before the Committee on

Immigration and Naturalization, 70th Cong. 2 (1928). Representatives

Thomas Jenkins and Adolph Sabath, who remained in office through

1952, were members of the Immigration Committee and attended the

hearing. Chairman Johnson praised Dr. Laughlin’s reports on race

crossing as “priceless” resources “bear[ing] intimately on immigration

policy,” 1-SER-108; 4-ER-568, and “of great use to the [immigration]

committee in its deliberations.” 1-SER-116; 4-ER-568. Dr. Laughlin

told the committee “[i]mmigration control is the greatest instrument

which the Federal Government can use in promoting race conservation

of the Nation.” 1-SER-124. He compared Congress to “successful

breeders of thoroughbred horses,” who should never consider “acquiring

a mare or a stallion not of the top level” for their “stud farm.” 1-SER-

149.

       Congressmen openly discussed the need to keep immigration

limited to white Northern and Western Europeans. Representatives

lamented Mexican “hordes” coming in “droves,” and argued, from a



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“moral standpoint,” Latinos were “poisoning the American citizen”

because they are “of a class” “very undesirable.” 1-SER-199–200.

Representative Box characterized the goal of immigration law as “the

protection of American racial stock from further degradation or change

through mongrelization,” and he referred to Mexican citizens as having

“negro slave blood” creating “the Mexican peon” “different from us in

character, in social position.” 1-SER-219–220; see 4-ER-566. Florida

Representative Robert Green advocated for imposing quotas on

immigration from countries south of the United States he characterized

as “composed of mixture blood of White, Indian, and negro” that

endangered America from keeping its “blood white and purely

Caucasian.” 1-SER-223; 4-ER-567.

     The Senate easily passed the bill, without debate, by a unanimous

quorum. 1-SER-261–279; 70 Cong. Rec. 2086, 2091–92 (1929). The

House passed the bill after debate and minor amendment. 1-SER-201.

President Hoover signed the Act into law on March 22, 1929. 1-SER-

281–282. The statute read: “[I]f any alien has been arrested and

deported in pursuance of law . . . and if he enters or attempts to enter




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the United States . . . he shall be guilty of a felony.” Undesirable Aliens

Act of 1929, Pub. L. No. 70-1018, ch. 690, 45 Stat. 1551.

      Between 1929 and 1936, over 40,000 Latino migrants were

imprisoned under the illegal reentry law. 4-ER-590. Latinos often

comprised 99% of defendants each year. 1-ER-11; 4-ER-589–590. “[N]o

other federal legislation—not prohibition, not drug laws, and neither

laws against prostitution nor the Mann act—sent more Mexicans to

federal prison during those years.” 4-ER-590.

      C.    Anti-Latino animus continued influencing federal
            immigration legislation in the 1950s.

      When the Great Depression ended in 1941, agribusiness labor

demands led to the Bracero Program (1942–1964), a temporary guest-

worker program allowing continued exploitation of Latino labor. 2-ER-

110–111, 134–139, 149–150, 154–156, 186–188. Bracero agricultural

immigrants experienced routine gassings with DDT and invasive

physical inspections. They were racially stereotyped as “fit” only “for

agricultural labor,” unlike their white immigrant counterparts. 1-ER-

37.

      In 1952—the midpoint of the Bracero Program—criminalization of

Latino immigration continued. Thirty congressmen from the 1929


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Congress remained in office, many holding positions of authority,

including five Senators. Former Sen. Alben Barkley (KY), who served

in the 1929 Senate, was now the U.S. Vice President and thus Senate

President. The 1950 senate report chaired by Nevada Senator Pat

McCarran is replete with racism, particularly denigrating Latino

immigrants. S. Rep. 81-1515, at 150-52, 176 (1950); see infra, pp. 17,

55, 61–62.

     One of the first immigration laws passed in 1952 was the

“Wetback Bill,” making “it an offense to harbor or to transport or to

bring in wetbacks,” but exempting employers from prosecution. 1-ER-

24; 98 Cong. Rec. 791–800 (1952); 2-ER-158–159. During debates for

the “Wetback Bill,” legislators explained an upcoming bill—the § 1326

statute—would go even further to curb the “wetback problem.” 98

Cong. Rec. 793–94 (1952). In debates the legislators repeatedly called

Latino migrants “wetbacks” and stated Latino immigrants were “of

inferior quality.” 2-ER-158–173; 98 Cong. Rec. 791–800 (1952).

     Two months after passing the Wetback Bill, Congress passed the

Immigration and Nationality Act of 1952 (often called the McCarran-

Walter Act of 1952), Pub. L. No. 82-414, § 276, 66 Stat. 229. See 1-ER-



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29. This Act recodified the 1929 illegal reentry statute and continued

the national-origins immigration quotas of the 1920s. Congressional

debate focused on the national-origins provisions, not the illegal reentry

statute reenactment. 1-ER-26. Thus, the reenactment carried forward

almost identical language: “Any alien who—(1) has been arrested and

deported or excluded and deported, and thereafter (2) enters, attempts

to enter, or is any time found in, the United States … shall be guilty of

a felony[.]” McCarran-Walter Act, § 276; 1-ER-26–27; 2-ER-191–193.

     The 1952 McCarran-Walter Act’s legislative history shows racial

animus motivated its passing. 1-ER-27; 2-ER-190–193. Senator

McCarran, the bill’s co-author, stated immigration law must “preserve

the sociological and cultural balance in the population of the United

States.” S. Rep. No. 81-1515, at 455. Congressmen implored their

colleagues to limit immigration to white Europeans. Senator Walter

George reminded colleagues that when he voted for the 1920s

immigration laws, the purpose was to “preserve something of the

homogeneity of the American people.” 98 Cong. Rec. 5774 (1952).

During the House debates, the focus remained on keeping America

predominantly white, with even “liberal” congressmen opposing racial



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mixing. 98 Cong Rec. 4320 (1952) (statement of Rep. Celler).

Representatives even praised Hitler, despite the then-recent atrocities

of Hitler’s eugenics-based terror. 98 Cong. Rec. 4314 (1952) (at 2-ER-

177–178) (Idaho Rep. Wood stating, “It seems to me the question of

racial origins—though I am not a follower of Hitler—there is something

to it.”). Representative John Rankin, who had served in 1929, decried

immigration reform as efforts to “destroy the white race” and “white

gentiles.” 98 Cong. Rec. 4315-21 (1952). Representative Jenkins, who

also served in 1929, stated the House debate “has been reminiscent of

the days of 20 years ago when the wishes of the Members was to keep

away from our shores the thousands of undesirables just as it is their

wish now.” 98 Cong. Rec. 4442 (1952).

     Governmental use of the slur “wetback” surrounded the 1952

immigration bills. Deputy Attorney General Peyton Ford quoted the

slur in a May 1951 letter to the Judiciary Committee endorsing § 1326.

3-ER-439; 2-ER-160. And the slur was repeatedly used during the

debates. 98 Cong Rec. 5167–68, 5317–21, 5766, 5787 (1952).

Pennsylvania Representative Francis Walter, cosponsor of the Act,




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likewise used the slur to refer to the “so-called wetback bill.” 98 Cong.

Rec. 4403 (1952).

     President Harry Truman vetoed the 1952 Walter-McCarran Act

because of its discriminatory provisions. 2-ER-176–177; 3-ER-420–430.

President Truman warned Congress the bill “would perpetuate

injustices of long standing against many other nations of the world,

hamper the efforts we are making to rally the men of East and West

alike to the cause of freedom, and intensify the repressive and inhuman

aspects of our immigrations procedures.” 3-ER-421; 2-ER-177. He

disagreed with the bill’s broadened deportation grounds and limited

discretionary relief. 3-ER-427. President Truman pointedly explained,

“[t]he price is too high, and in good conscience, I can’t agree to pay it.”

3-ER-421; 2-ER-177. Congress overrode the veto, including yea votes by

several congressmen remaining in office since 1929, and § 1326 took

effect June 27, 1952. 7 3-ER-430; 98 Cong. Rec. 8214–25, 8253–68

(1952). Following passage of the Act, the INS began “Operation




     7 Congress has amended § 1326 five times, each time increasing
its punitive nature without addressing its racist origins. See infra, pp.
69–71.

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Wetback” in 1954—a mass deportation program that ultimately

removed 1.1 million Latinos from the United States, many of whom

were U.S. citizens. 2-ER-185–186; 3-ER-309–310.

     D.     For the past century, Latino persons have
            constituted nearly all arrests and prosecutions for
            illegal reentry.

     The government did not dispute below that § 1326 “bears more

heavily” on Latino persons. 1-ER-10. In the decade after 1929, Latinos

made up “84% to 99% of defendants” for border crimes. 1-ER-11 (citing

4-ER-572). The extensive 1950 senate report, noted by the government

(OB-6), found the majority of illegal immigrants being removed were

Latinos: “Deportations and voluntary departures to Canada were very

small, since approximately 90 percent of the cases were Mexicans.” S.

Rep. 81-1515, at 635 (1950); see also id. at 630–34 (finding Latinos

made up 90% or more of deportations and voluntary departures in

1946–47). These numbers continue today, with nearly all




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prosecutions—99%—involving Latino defendants.8 Yet Latinos are less

than 80% of the undocumented population.9

     Illegal reentry accounts for over 30% of all federal criminal

prosecutions. 10 At the time of the motion to dismiss, DOJ policy was to

prosecute “‘100%’ of southern border crossings.” 1-ER-10 (citing U.S.

Dep’t of Justice, Statements of AG Sessions (Apr. 6, 2018)); see also 4-

ER-575–576. Section 1326 thus continues to be wielded as a

discriminatory tool driving the mass incarceration of Latino people.

III. District court’s decision

     Applying Arlington Heights review, the district court found

Carrillo-Lopez proved discriminatory intent motivated both the 1929

and 1952 enactments of § 1326. 1-ER-9. Overt racist “nativism and




     8  U.S. Sent. Comm’n, Quick Facts: Illegal Reentry Offenses, Fiscal
Year 2020 (May 2021), https://www.ussc.gov/sites/default/
files/pdf/research-and-publications/quick-facts/Illegal_Reentry_
FY20.pdf (99.1% Hispanic); see also U.S. Sent. Comm'n, Quick Facts:
Illegal Reentry Offenses, Fiscal Year 2019 (May 2020), https://
www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
facts/Illegal_Reentry_FY19.pdf (99% Hispanic).
     9 Profile of the Unauthorized Population: United States, Migration
Policy Institute, https://www.migrationpolicy.org/data/unauthorized-
immigrant-population/state/US.
     10   Supra n.8, Illegal Reentry Offenses, Fiscal Year 2020.

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eugenics . . . fueled the Act’s passage in 1929.” 1-ER-16. And racism

also “motivated the 1952 enactment.” 1-ER-17–18. The burden thus

“shift[ed] to the government to establish that ‘the same decision would

have resulted even had the impermissible purpose not been

considered.’” 1-ER-35 (quoting Arlington Heights, 429 U.S. at 270 n.21).

      Because the government produced no evidence on this point and

conceded racial animus motivated the 1929 law, 11 the court found the

government failed its burden. 1-ER-35–44. And the court found the

government’s alternative arguments, which claimed the 1929 law’s

racial taint was cleansed by later reenactment and amendments, were

unsupported by the legislative record. 1-ER-35–44. The court therefore

granted Carrillo-Lopez’s motion to dismiss in a 45-page order. 1-ER-2–

45.




       Although the government attempts to retract this concession,
      11

OB-12 n.3, it cannot. The government “is bound by its concessions.”
Reynoso v. Giurbino, 462 F.3d 1099, 1110 (9th Cir. 2006); see also
United States v. Depue, 912 F.3d 1277, 1232 (9th Cir. 2019) (en banc).
The district court noted and confirmed the concession repeatedly, which
the government did not contest. 1-ER-13 n.17; 2-ER-76–77; 4-ER-496.

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                         Summary of Argument

     The district court correctly held that Section 1326 violates the

Fifth Amendment’s prohibition on racial discrimination. Arlington

Heights, 429 U.S. 252. The Arlington Heights framework demands that

courts engage in a sensitive inquiry into such circumstantial and direct

evidence of intent as may be available, examining, inter alia, disparate

impact, legislative history, and historical background of a law. Doing so

here, the district court correctly concluded Congress’s discriminatory

intent was “a motivating factor in the decision” to enact and reenact the

illegal reentry law, rendering it unconstitutional. Id. at 265–66.

     The government’s claim that rational-basis review applies to

Carrillo-Lopez’s equal protection claim is foreclosed by precedent

applying Arlington Heights to other immigration laws and policies.

Compare OB-22, with Regents of the Univ. of Cal. v. Dept. of Homeland

Security, 908 F.3d 476, 518–20 (9th Cir. 2018), reversed on other

grounds, 140 S. Ct. 1891, 1915–16 (2020); Ramos v. Wolf, 975 F.3d 872,

896 (9th Cir. 2020). The precedent upon which the government relies

applies to official actions regulating the admission and exclusion of

foreign nationals. Here, the statute challenged criminalizes conduct of



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persons inside the United States—warranting Arlington Heights

review.

     There is no serious dispute that Congress enacted the statute in

1929 out of racial animus, as nearly every page of the statute’s

legislative history contains overt bigotry. Yet the Government

contends it can prevail even under Arlington Heights, insisting that the

statute’s reenactment in 1952 purged the discriminatory taint from the

original statute. But the district court properly credited the

overwhelming evidence in this record refuting that claim. The Congress

that—in the very same law—enacted a racist immigration quota over

President Truman’s veto carried forward the 1929 law because of, not in

spite of racial animus. Indeed, many of the same legislators enacted

both statutes. The district court did not commit clear error in crediting

the extensive expert testimony and uncontested legislative history

supporting that conclusion. Finding Carrillo-Lopez carried his burden,

and the government failed to meet its burden, the district court did not

clearly err in holding the law violates the Fifth Amendment and

dismissing the indictment.




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                                  Argument

I.   Standard of Review

     A statute’s constitutionality and a district court’s dismissal of an

indictment are both reviewed de novo. United States v. Rundo, 990

F.3d 709, 713 (9th Cir.), cert. denied, 142 S. Ct. 865 (2022).

     Clear error review applies to the district court’s findings

underlying dismissal. “[A] finding of intentional discrimination is a

finding of fact[.]” Anderson v. Bessemer City, 470 U.S. 564, 573 (1985);

see Abbott v. Perez, 138 S. Ct. 2305, 2326 (2018); Hunter v. Underwood,

471 U.S. 222, 229 (1985). The deferential clear error standard

determines “whether, ‘on the entire evidence,’ [the reviewing court] is

‘left with the definite and firm conviction that a mistake has been

committed.’” Easley v. Cromartie, 532 U.S. 234, 242 (2001) (citation

omitted); see also United States v. Bussell, 504 F.3d 956, 962 (9th Cir.

2007).

     Contrary to the government’s claim, federal courts reject the

argument that findings relying on documents “may more readily be”

clear error. OB-18–19. “The clearly erroneous standard applies

notwithstanding the fact that the appellate record may consist entirely



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of documentary evidence.” Alexander v. Youngstown Bd. of Ed., 675

F.2d 787, 795–96 (6th Cir. 1982).

       Appellate courts “will not reverse a lower court’s finding of fact

simply because [they] ‘would have decided the case differently.’” Easley,

532 U.S. at 242 (citing Anderson, 470 U.S. at 573). Nor is the weight a

district court places on a factor an appropriate area to challenge on

clear error review. See Lewis v. Ayers, 681 F.3d 992, 998–99 (9th Cir.

2012); Lahoti v. VeriCheck, Inc., 586 F.3d 1190, 1196 (9th Cir. 2009).

“Where there are two permissible views of the evidence, the factfinder’s

choice between them cannot be clearly erroneous.” Lewis, 681 F.3d at

999.

II.    The district court correctly held Arlington Heights
       applies.

       The district court correctly held, under well-established precedent

from this Court and the Supreme Court, Arlington Heights provides the

test for analyzing § 1326’s constitutionality. 1-ER-5. “The federal

government’s plenary power over immigration does not give it license to




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enact racially discriminatory statutes in violation of equal protection.” 12

1-ER-4, 7 (quoting Dent v. Sessions, 900 F.3d 1075, 1081 (9th Cir.

2018)).

     A.     Immigration cases from this Court and the
            Supreme Court apply Arlington Heights to equal
            protection challenges.

     As the district court correctly explained, this Court has settled

whether Arlington Heights applies to certain types of official actions,

regardless of whether they are part of “the immigration-regulation

framework.” 1-ER-4; OB-54. It does.

     First, in Kwai Fun Wong v. United States, this Court considered

an equal protection claim against the INS for “decisions involving

adjustment of status, advance parole, and revocation of temporary




     12  Should this Court disagree, it would be improper to apply
rational-basis in the first instance on appeal. See Pullman-Standard,
Div. of Pullman v. Swint, 456 U.S. 273, 291–92 (1982). Further
litigation in the district court is particularly necessary here, where the
government proposes a factual reason as the rational-basis for the law
that is subject to debate. Compare OB-2, 5–7, 13, 15–16, 24, 55–59
(arguing Congress had a rational-basis for passing § 1326 to “deter
violations of the country’s immigration laws”), with Michael Corradini
et al., Operation Streamline: No Evidence that Criminal Prosecution
Deters Migration, Vera Institute of Justice, p. 8 (June 2018) (finding “no
measurable deterrent effect of illegal entry prosecutions”).

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parole.” 373 F.3d 952, 968 (9th Cir. 2004). Rather than review under

rational-basis, this Court looked to the alleged discriminatory animus

underlying the immigration decisions, concluding the plaintiff had

stated a valid claim for relief under the Fifth Amendment’s equal

protection component. Id.

     Next, in Regents, this Court applied Arlington Heights in an

equal-protection challenge to the government’s rescission of the

Deferred Action for Childhood Arrivals (DACA) program, although the

program is a component of the nation’s immigration regulation

framework. 908 F.3d at 518–20. In reviewing Regents, the Supreme

Court did not disturb that part of the holding (although it reversed for

other reasons). See Regents, 140 S. Ct. at 1915–16; id. at 1917–18

(Sotomayor, J., concurring in part, dissenting in part).

     After the Supreme Court’s decision, this Court considered another

discrimination claim arising in an immigration framework in Ramos v.

Wolf, 975 F.3d at 896. Again, this Court applied Arlington Heights.

While this Court rejected an equal protection challenge to the

government’s termination of the Temporary Protected Status (TPS)

program for four countries, id. at 896, it explicitly rejected the same



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argument the government makes here—that “in light of Trump v.

Hawaii, the district court erred by applying the standard from

Arlington Heights.” Id. at 895. This Court decided Ramos after the

Supreme Court decided Regents, demonstrating that this Court’s

original holding in Regents applying Arlington Heights remains good

law.

       The government’s arguments challenging these holdings are

unpersuasive. The government first minimizes Regents by asserting the

Supreme Court faced a choice between an unreviewable administrative

selective enforcement claim (as the government argued) or one governed

by Arlington Heights due to racial animus (as the claimants argued but

failed to prove). OB-29. The government’s argument misunderstands

the choice the Supreme Court faced. The parties in Regents disputed

only whether a narrow exception to Arlington Heights applied—one not

applicable here.13 Regents, 140 S. Ct. at 1915. The Supreme Court

avoided answering that question by concluding that the respondents’




        The narrow issue was whether the challenged executive agency
       13

decision fell within a limited category of unreviewable agency decisions
under 5 U.S.C. § 701(2). Regents, 140 S. Ct. at 1905.

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claim failed regardless. But what was not an option is the position the

government is now advocating for—that rational-basis applies because

the claim involved the Executive’s immigration powers.

     The government also fails to distinguish Ramos. The government

first incorrectly claims DHS’s termination of TPS designation for four

countries was facially discriminatory. OB-29–30. It was not. While the

TPS program makes country-based distinctions, it does so based on

criteria that are facially neutral regarding race. See Ramos v. Wolf, 975

F.3d at 878. The government also tries to muddle Ramos’s holding by

citing this Court’s description of the plaintiffs as foreign nationals

“lawfully” residing in the United States. OB-30–31. But Ramos did not

rely on lawful status in its reasoning; as the government acknowledges,

it distinguished instead between people who have “effected an entry

into the United States” and those stopped on the threshold of entry.

OB-30 (quoting Ramos v. Wolf, 975 F.3d at 896). Last, the government

wrongly asserts the “foreign policy and national security implications”

of § 1326 are “greater than those at play in Ramos.” OB-31. That is

nonsensical. The statute in Ramos required the DHS Secretary to

cooperate with the State Department, required foreign countries to



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specifically request protected status, and has long functioned as a

critical tool of American foreign policy. Ramos v. Wolf, 975 F.3d at 910

n.5. Here, the DOJ is solely responsible for prosecuting alleged § 1326

violators, with no foreign or diplomatic involvement.

     B.     Regents and Ramos align with Supreme Court cases
            about Congress’s “plenary power” over
            immigration.

     Although no panel of this Court could disregard Regents and

Ramos, their application of Arlington Heights to race discrimination

claims arising in the immigration context finds ample support in

Supreme Court doctrine. The Supreme Court has long held that: (1)

Congress has “plenary power” over immigration, and (2) “plenary

power” is a not monolithic concept. Persons within the United States

possess more constitutional rights, regardless of citizenship, than those

outside its borders. See Zadvydas v. Davis, 533 U.S. 678, 693 (2001).

And all criminal defendants, including those charged with violating

§ 1326, are entitled to due process of law under the Fifth Amendment,

regardless of citizenship. United States v. Mendoza-Lopez, 481 U.S.

828, 837 (1987); see 1-ER-3–6.




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            1.    Courts apply Arlington Heights when statutes
                  affect the rights of people within the United
                  States.

     A long line of Supreme Court caselaw distinguishes between

people already in the United States—regardless of citizenship—and

those outside its borders. Noncitizens physically present in the United

States, regardless of their legal status, are recognized as persons

guaranteed Fifth Amendment due process and equal protection. Plyler

v. Doe, 457 U.S. 202, 215–16 (1982). “Even one whose presence in this

country is unlawful, involuntary, or transitory is entitled to that

constitutional protection.” Mathews v. Diaz, 426 U.S. 67, 77 (1976); see

also Zadvydas, 533 U.S. at 693.

     Trump v. Hawaii, 138 S. Ct. 2392, 2418 (2018), on which the

government heavily relies, is an initial admission case, proving this

distinction. OB-20–22, 28. In Hawaii, the Supreme Court examined an

executive order restricting entry by foreign nationals of select Muslim

countries. 138 S. Ct. at 2418. The Court’s analysis focused on initial

entry cases: “the admission and exclusion of foreign nationals is a

‘fundamental sovereign attribute exercised by the Government’s

political departments largely immune from judicial control.’” Id. at



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2418 (quoting Fiallo v. Bell, 430 U.S. 787, 792 (1977)). 14 Thus, Hawaii

held the plaintiff’s challenge was subject to rational-basis review.

     The Supreme Court did not hold in Hawaii what the government

is asking this Court to hold—that the plenary power doctrine applies to

criminal statutes targeting persons already in the United States. That

position is foreclosed by Ramos and inconsistent with Regents and Kwai

Fun Wong, which applied rigorous equal protection review to claims

brought by people already on U.S. soil.15

            2.    Criminal statutes receive higher scrutiny.

     The district court correctly followed over a century of Supreme

Court caselaw in holding “greater protections under the Fifth




     14 In Fiallo, the Supreme Court addressed the gender-based
special preference immigration status available to some children of
United States citizens. 430 U.S. at 788–89. Reviewing the claim only
under rational-basis, the Court emphasized Congress’s power over “the
admission of aliens.” Id. at 791 (emphasis added).
     15 Many district courts reject the government’s reading of Hawaii.
See California v. U.S. Dep’t of Homeland Sec., 476 F. Supp. 3d 994,
1022–23 (N.D. Cal. 2020); Washington v. United States Dep’t of
Homeland Sec., No. 4:19-CV-5210-RMP, 2021 WL 6206983, at *2 (E.D.
Wash. Feb. 1, 2021); Cook Cnty. v. Wolf, 461 F. Supp. 3d 779, 789–90
(N.D. Ill. 2020); CASA de Maryland, Inc. v. Trump, 355 F. Supp. 3d 307,
322–24 (D. Md. 2018).

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Amendment necessarily apply when the government seeks to “punish[]

by deprivation of liberty and property.” 1-ER-4 (quoting Wong Wing v.

United States, 163 U.S. 228, 237 (1896)). Thus, while noncitizens inside

the U.S. raising civil immigration matters may continue to be protected

by Arlington Heights review, the challenged law here is criminal—

where defendants receive more protections than in civil law. See

Immigration & Naturalization Serv. v. Lopez-Mendoza, 468 U.S. 1032,

1038 (1984); Tun-Cos v. Perrotte, 922 F.3d 514, 524 (4th Cir. 2019). As

the Supreme Court stated in Loving v. Virginia, “[a]t the very least, the

Equal Protection Clause demands that racial classifications, especially

suspect in criminal statutes, be subjected to the most rigid scrutiny.”

388 U.S. 1, 11 (1967) (emphasis added).

     Here, § 1326 is a purely criminal law with carceral punishment as

its core function. See United States v. Martinez-Ramos, 184 F.3d 1055,

1058 (9th Cir. 1999); United States v. Joya-Martinez, 947 F.2d 1141,

1144 (4th Cir. 1991); United States v. Vasquez-Escobar, 30 F. Supp. 2d

1364, 1370 (M.D. Fla. 1998). Thus, the highest constitutional

protections apply.




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     The government dismisses §1326’s criminal function,

mischaracterizing it as a “regulatory statute enacted to assist in the

control of unlawful immigration by aliens.” OB-23. And the

government repeatedly cites this Court’s statement characterizing

§ 1326 as “a necessary piece of the immigration regulation framework,”

without which “Congress’s immigration-regulation authority would be

fatally undermined—all bark and no bite.” OB-16–17, 23–25, 54–55

(quoting United States v. Hernandez-Guerrero, 147 F.3d 1075, 1078 (9th

Cir. 1998)). The government’s arguments are unpersuasive.

     Placing § 1326 within the immigration section of the United

States Code is irrelevant. “The location and labels of a statutory

provision do not by themselves transform a civil remedy into a criminal

one.” Smith v. Doe, 538 U.S. 84, 94 (2003). For example, in Wong Wing,

despite congressional labels to the contrary, the Supreme Court held a

sentence of imprisonment with hard labor rendered the proceeding a

“criminal prosecution.” 163 U.S. at 234. Thus, the affected noncitizens

were entitled to criminal trial protections. Id. at 238. Since Wong

Wing, the Supreme Court continues to hold that official actions

amounting to “punishment” are afforded full constitutional protection,



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even if they occur in the context of immigration. See Kennedy v.

Mendoza-Martinez, 372 U.S. 144, 165–67 (1963).

     In addition, this Court’s statement in Hernandez-Guerrero does

not affect this issue, as the district court explained. 1-ER-6, 9.

Hernandez-Guerrero addressed only whether Congress can functionally

use criminal law for immigration-related purposes. 147 F.3d 1075.

There is a sharp distinction between Congress’s power to enact a

criminal law under its immigration powers and whether Congress chose

a constitutionally impermissible means of doing so. Hernandez-

Guerrero “establishes only that Congress did not exceed its

constitutional authority under its immigration powers when it enacted

Section 1326.” 1-ER-6, 9. But “[t]he question is not whether Congress

functionally had the authority to pass a criminal immigration statute,

but whether the motivation behind Section 1326’s enactment was

racially discriminatory in violation of the Equal Protection Clause.” 1-

ER-40, 43.

     C.      The cases the government relies on are inapposite.

     The government relies on several cases the district court found

inapplicable, none of which involved a race-based challenge to a



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criminal law. OB-22, 26; 1-ER-6. In United States v. Ruiz-Chairez, this

Court addressed an equal protection challenge based on alienage, not

race. 493 F.3d 1089, 1091 (9th Cir. 2007). Alienage was also the

classification in Hampton v. Mow Sun Wong, 426 U.S. 88, 100–03

(1976), Mathews, 426 U.S. at 81–83, United States v. Lopez-Flores, 63

F.3d 1468, 1471–75 (9th Cir. 1995), and United States v. Ferreira, 275

F.3d 1020, 1026 (11th Cir. 2001). In United States v. Barajas-Guillen,

this Court addressed an indigency-based classification, not a race-based

one. 632 F.2d 749, 752 (9th Cir. 1980). In United States v. Calderon-

Segura, this Court applied rational-basis review to the decision to apply

expedited removal proceedings to some aggravated felons but not

others. 512 F.3d 1104, 1107 (9th Cir. 2008). In Ledezma-Cosino v.

Sessions, this Court applied rational-basis review to a classification

affecting “habitual drunkards.” 857 F.3d 1042, 1048–49 (9th Cir. 2017)

(en banc). And in United States v. Ayala-Bello, this Court held the

distinction at issue was between defendants based on criminal conduct

and noted that, even if the classification were alienage, rational-basis

review applied. 995 F.3d 710, 715 (9th Cir.), cert. denied, 142 S. Ct. 513

(2021). Along with its irrelevancy here, the concurring opinion observed



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the Supreme Court “has never held that federal criminal classifications

based on alienage are subject only to rational basis review.” Id. at 717

(Watford, J., concurring).

     The government lists district courts that have applied rational-

basis review to § 1326 equal protection challenges.16 OB-25 & n.4. But

multiple district courts agree that Arlington Heights review, not

rational-basis review, applies to § 1326 equal protection challenges. 1-

ER-32–36 (reviewing cases). And the courts coming to the contrary

conclusion relied on caselaw involving admission, exclusion, or alienage.

See United States v. Amador-Bonilla, No. CR-21-187-C, 2021 WL

5349103, at *1 (W.D. Okla. Nov. 16, 2021); United States v. Samuels-

Baldayaquez, No. 4:20-CR-83, 2021 WL 5166488, at *2 (N.D. Ohio Nov.

5, 2021); United States v. Novondo-Ceballos, 554 F. Supp. 3d 1114

(D.N.M. 2021); United States v. Gutierrez-Barba, No. CR-119-01224-




     16   The government erroneously includes United States v. Wence in
its list of cases applying rational-basis review to § 1326 equal protection
challenges. OB-25 & n.4 (citing United States v. Wence, No. 3:20-CR-
0027, 2021 WL 2463567 (D.V.I. June 16, 2021)). Wence applied
Arlington Heights, “find[ing] no support for the proposition that
criminal laws enacted by Congress, even when they are enacted in
furtherance of Congress’s broad immigration power, are otherwise
immune from Constitutional review.” 2021 WL 2463567, at *2–4.

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001-PHX-DJH, 2021 WL 2138801, at *2 (D. Ariz. May 25, 2021). In

addition, at least one district court misapplied binding Supreme Court

precedent, which applied heightened scrutiny, not rational-basis, to an

unwed father’s Fifth Amendment claim. Samuels-Baldayaquez, 2021

WL 5166488, at *2 (relying on but misinterpreting Sessions v. Morales-

Santana, 137 S. Ct. 1678, 1693–94 (2017)). Other district courts

ignored foundational precedent providing greater constitutional

protections to criminal defendants than civil litigants. Novondo-

Ceballos, 554 F. Supp. 3d at 1114; United States v. Ruiz-Rivera, No.

3:20-MJ-20306-AHG, 2020 WL 5230519, at *4 (S.D. Cal. Sept. 2, 2020).

As a result, these district courts erroneously expanded rational-basis

review to a race-based criminal law challenge.

     The district court correctly expressed concern that applying

rational-basis review would render criminal immigration laws “free

from constitutional equal protection constraints” and “give [Congress]

license to enact racially discriminatory statutes in violation of equal

protection.” 1-ER-4. This concern is well-founded. The government’s

proposed narrowing of the Constitution’s protections undermines

decades of Supreme Court and Ninth Circuit precedent striking laws



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“taken for invidious purposes.” Arlington Heights, 429 U.S. at 267; see,

e.g., Hunter, 471 U.S. at 233; Ramos v. Wolf, 975 F.3d at 896.

     The government claims the district court’s concerns are illusory,

speculating that applying rational-basis review to any facially neutral

law would not dictate the standard of review applicable to a law

drawing an explicit racial classification. OB-27–28. Analysis under

Arlington Heights is necessary, however, precisely because government

actors “seldom, if ever, announce on the record that they are pursuing a

particular course of action because of their desire to discriminate.”

Smith v. Clarkton, 682 F.2d 1055, 1064 (4th Cir. 1982). The

government’s position would read Arlington Heights out of existence.

See Pers. Adm'r of Massachusetts v. Feeney, 442 U.S. 256 (1979)

(explaining a facially discriminatory law and a law meeting the

Arlington Heights standard are both unconstitutional).

III. The district court correctly held 8 U.S.C. § 1326 violates
     the Fifth Amendment.

     The district court, after “consider[ing] the briefing, arguments of

counsel, and expert testimony,” correctly found § 1326 “was motivated,

at least in part, by discriminatory intent.” 1-ER-2–3. Under the Fifth

Amendment’s equal protection principles, a law motivated by


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discriminatory intent is invalid. See Hunter, 471 U.S. at 227–28;

Arlington Heights, 429 U.S. at 264–66; Ave. 6E Invs., L.L.C. v. City of

Yuma, 818 F.3d 493, 504 (9th Cir. 2016).

       To determine whether a facially neutral law is a pretext for

unconstitutional discrimination, courts consider “the totality of the

relevant facts,” including the: (1) law’s disparate impact on a racial

group; (2) historical background against which the law was enacted; (3)

sequence of events leading to the law’s enactment; (4) legislature’s

departure from normal procedures; and (5) legislative history. 1-ER-7

(citing Arlington Heights, 429 U.S. at 264–68); see also Washington v.

Davis, 426 U.S. 229, 241–42, 266–67 (1976); Ave. 6E Invs., 818 F.3d at

504.

       Arlington Heights does not require the challenger to “establish

any particular element in order to prevail.” Ave. 6E Invs., 818 F.3d at

504 (cleaned up). Nor must a challenger show discriminatory purpose

was the “sole[]” or even a “primary” motive for the legislation. Id. at

265–66. The challenger need only show by a preponderance of the




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evidence that discrimination was “a motivating factor.” Id.; Hunter, 471

U.S. at 225.17

     Because Carrillo-Lopez satisfied that burden, it shifted to the

government to establish the law would have been passed even if the

impermissible purpose had not been considered. 1-ER-7; see Castaneda

v. Partida, 430 U.S. 482, 497 (1977) (explaining government’s burden

and citing with approval government’s evidentiary presentation in

previous case). The district court correctly concluded the government

failed to meet its burden here.

     A.     The district court properly considered the intent of
            both the 1929 and the 1952 legislatures.

     Congress originally enacted the illegal reentry provision in 1929,

then reenacted a nearly identical provision in 1952. The government




     17  Relying on Abbott, 138 S. Ct. 2305, the government erroneously
argues this Court must apply a presumption of good faith to Congress’s
actions. OB-34–35. In Abbott, the Supreme Court considered a lower
federal court’s intervention in a state’s election redistricting plans. In
that limited circumstance, involving “a serious intrusion on the most
vital of local functions,” the Supreme Court explained state
governments are presumed to act in good faith. Id. at 2324–25 (quoting
Miller v. Johnson, 515 U.S. 900, 915–16 (1995)) (emphasis added). The
government cites no case applying that presumption outside Abbott’s
factual scenario.

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acknowledges evidence of a prior legislature’s intent and statements of

a bill’s proponents can provide important historical background and

context for determining a later legislature’s intent. OB-34; see also

Abbott, 138 S. Ct. at 2324–25. In making its factual findings, the

district court thus properly considered the intent of both the 1929 and

the 1952 legislatures.

     And, contrary to the government’s claim, OB-34–35, legislator

changes and passing time mattered little here, for two reasons. See

Hunter, 471 U.S. at 233 (striking down in 1985 a constitutional

provision adopted in 1901); see also Jean v. Nelson, 711 F.2d 1455,

1491–92 (11th Cir. 1983), on reh’g, 727 F.2d 957 (11th Cir. 1984), aff’d,

472 U.S. 846 (1985). First, several key legislators remained the same,

including representatives that served on the 1929 Immigration

Committee. See supra, pp. 3, 12–13, 21. Thus, many members of the

reenacting legislature actually knew the discriminatory intent of the

original law, which by itself strongly suggests that the same

discriminatory motivations remained.

     These continuing congressmen praised their 1952 colleagues for

preserving the purpose of the 1929 Act. Senator Walter George



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reminded colleagues that when he voted for the 1920s immigration

laws, the purpose was to “preserve something of the homogeneity of the

American people” and the “desire to protect American labor.” 98 Cong.

Rec. 5774 (1952). Representative Jenkins praised colleagues for

maintaining the 1920s immigration laws he had promulgated, stating

the House debate “has been reminiscent of the days of 20 years ago

when the wishes of the Members was to keep away from our shores the

thousands of undesirables just as it is their wish now.” 98 Cong. Rec.

4442 (1952).

     Second, even had all the original legislators been gone by 1952,

the 1929 enactment remains relevant for more than historical

background and context. As the Supreme Court explained in a trio of

modern cases, when a legislature reenacts a statute without

significantly altering it, the later legislature’s intent does not supplant

the earlier legislature’s. See Ramos v. Louisiana, 140 S. Ct. 1390, 1410

(2020) (Sotomayor, J., concurring in part); Espinoza v. Montana Dep’t of

Revenue, 140 S. Ct. 2246, 2274 (2020) (Alito, J., concurring); Hunter,

471 U.S. at 233; cf. Abbott, 138 S. Ct. at 2325. “[I]t will not be inferred

that Congress, in revising and consolidating the laws, intended to



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change their effect unless such intention is clearly expressed.”

Anderson v. Pac. Coast S.S. Co., 225 U.S. 187, 198–99 (1912); Keene

Corp. v. United States, 508 U.S. 200, 209 (1993) (“[W]e do not presume

that the revision worked a change in the underlying substantive law

‘unless an intent to make such [a] chang[e] is clearly expressed.’”

(alterations in original)); United States v. Ryder, 110 U.S. 729, 740

(1884) (“It will not be inferred that the legislature, in revising and

consolidating the laws, intended to change their policy, unless such

intention be clearly expressed.”).

     In Hunter, the Supreme Court considered a challenge to

Alabama’s facially-neutral voter disenfranchisement law, which was

adopted in 1901 to “establish white supremacy” in the state. 471 U.S.

at 227–29. In the decades after the 1901 adoption of the provision,

courts struck down “[s]ome of the more blatantly discriminatory

selections.” Id. at 232–33. Writing for a unanimous court, Chief Justice

Rehnquist rejected the argument that these changes rendered the

provision constitutional, reasoning “its original enactment was

motivated by a desire to discriminate against blacks on account of race

and the section continues to this day to have that effect.” Id. at 233; see



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also Abbott, 138 S. Ct. at 2325. Thus, without deciding whether the law

“would be valid if enacted today without any impermissible motivation,”

the Supreme Court in Hunter unanimously held the law “violates equal

protection under Arlington Heights.” Id. at 233.

     Next, in Ramos v. Louisiana, the Supreme Court considered the

constitutionality of Louisiana’s nonunanimous jury verdict system,

developed for the “avowed purpose” “to ‘establish the supremacy of the

white race.’” 140 S. Ct. at 1394. Despite focusing on the Sixth

Amendment, Ramos’s plurality still analyzed “the racially

discriminatory reasons” for adopting the “rule[] in the first place,”

explaining its “respect for ‘rational and civil discourse’” could not excuse

“leaving an uncomfortable past unexamined.” Id. at 1401 & n.44, 1417–

18. Those discriminatory reasons led the plurality to reject Justice

Alito’s dissenting opinion that recodification of the jury non-unanimity

rule cleansed it of its racist intent. Id. As the plurality explained, in

“assess[ing] the functional benefits” of a law, courts cannot “ignore the

very functions those rules were”—at inception—“adopted to serve.” Id.

1401 & n.44.




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     Justice Sotomayor concurred in Ramos, agreeing the non-

unanimous jury rules are now “fully—and rightly—relegated to the

dustbin of history.” 140 S. Ct. at 1410. But she elaborated how a law

with racist origins could be free of racial bias: “Where a law otherwise is

untethered to racial bias—and perhaps also where a legislature actually

confronts a law’s tawdry past in reenacting it—the new law may well be

free of discriminatory taint.” Id. (emphases added); see also United

States v. Fordice, 505 U.S. 717, 728 (1992) (“[A] State does not discharge

its constitutional obligations until it eradicates policies and practices

traceable to its [explicitly segregated system].”). But Justice Sotomayor

added “[t]hat cannot be said of the laws at issue here,” where Louisiana

legislators had made no real “effort to contend with the law’s

discriminatory purpose and effects.” Ramos, 140 S. Ct. at 1410. 18

     Last, in Espinoza the Supreme Court reviewed the Montana

Supreme Court’s decision to exclude religious schools from the state




     18 One method for confronting a law’s “tawdry past” is repeal, as
shown by the recent introduction of a bill to repeal § 1326 because of its
racist origins. New Way Forward Act, H.R. 536, 117th Cong. (2021)
(reintroducing 2019 bill). The bill’s sponsor specifically recognizes and
repudiates the racist 1920’s origin of the illegal reentry statute. 165
Cong. Rec. E1571–72 (2019).

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scholarship program. 140 S. Ct. at 2251. In reversing the decision, the

Court discussed the “checkered tradition” and “shameful pedigree” of

similar religious exclusions, born of anti-Catholic bigotry in the 1870s.

Id. at 2258–59. Although Montana reenacted its religious exclusion in

the 1970s, purportedly “for reasons unrelated to anti-Catholic bigotry,”

the Court rejected the reenactment as a relevant consideration in its

First Amendment analysis, explaining the more recent changes “hardly

evince a tradition that should inform [its] understanding of the Free

Exercise Clause.” Id.

     These three cases teach that a statute’s prior versions, when

known to be motivated by racial animus, infect the current version

unless Congress actively confronts the statute’s racist past and chooses

to reenact it for race-neutral reasons notwithstanding that history.

Hunter, 471 U.S. at 232–33. The Supreme Court’s recent decision in

Abbott is entirely consistent with this rule. Abbott considered Texas’s

redistricting plans, enacted in 2013 after a court determined prior plans

were unconstitutionally discriminatory. 138 S. Ct. at 2313. The Court

rejected the argument the 2013 plans merely carried forward the

discriminatory intent from the earlier plans. Id. at 2313–14. But the



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Court did not rule evidence of a prior legislature’s intent was always

irrelevant—just the opposite. The Court explained a prior legislature’s

intent is relevant “to the extent that [it] naturally give[s] rise to—or

tend[s] to refute—inferences regarding the intent of the 2013

Legislature.” Id. In Abbott, the prior legislature’s intent did not give

rise to an inference about the 2013 legislature because that legislature’s

plan was not reenacted in 2013. Id. at 2325.

      The facts here fall outside the specific scenario in Abbott, where

Congress expressed no contrary intent. Despite adopting almost

identical language and knowing the disparate impact of the law,

Congress never debated or even acknowledged the racist origins of the

1929 statute when it reenacted it in 1952. 1-ER-19–26; 2-ER-191–193.

And the core focus of the two statutes—allowing for arrest, prosecution,

and imprisonment of Latinos—is identical. 1-ER-27–28. The district

court thus appropriately looked to the intent underlying § 1326’s first

enactment in assessing Carrillo-Lopez’s discrimination claim. 1-ER-13–

16.

      The government points to two changes between the 1929 and 1952

versions of the law, insisting they render the statute “substantially



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altered.” OB at 44–45. They do not, as neither change “alter[ed] the

intent with which the [statute], including the parts that remained, had

been adopted.” Abbott, 138 S. Ct. at 2325; see Hunter, 471 U.S. at 233.

The first change encapsulated multiple provisions into one penalty

scheme. The second change allowed prosecutors to enforce the 1929

provision “any time” a defendant was “found in” the United States

unlawfully, removing the need for the government to prove the

defendant’s entry point. Compare 8 U.S.C. § 1326 (1952), with

Undesirable Aliens Act, 45 Stat. 1551; see also Joint Hearings on S. 716,

H.R. 2379, and H.R. 2816 before the Subcomms. of the Comms. on the

Judiciary, 82d Cong. 716 (1951). Far from repudiating the racism of

the 1929 legislature, both changes furthered the provision’s racist

purpose. See Hunter, 471 U.S. at 233; contra Abbott, 138 S. Ct. at 2325.

And neither even suggests repudiation of the law’s racist origins.

     B.     The district court properly analyzed the Arlington
            Heights factors to hold Congress enacted § 1326
            with a discriminatory purpose.

     Considering the totality of the circumstances for both the initial

enactment in 1929 and the reenactment in 1952, the district court




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correctly found the illegal reentry statute was enacted with a

discriminatory purpose.

            1.    The disparate impact of § 1326 provides
                  powerful evidence of discriminatory intent.

     The Supreme Court has identified disparate impact as one factor

for determining whether a law was passed with a discriminatory

purpose. 19 Arlington Heights, 429 U.S. at 266; see Columbus Bd. of

Educ. v. Penick, 443 U.S. 449, 464–65 (1979). In cases with particularly

“stark” patterns of racial impact, this factor alone can be determinative.

Arlington Heights, 429 U.S. at 266. Even in cases with less stark

impact, this information “provide[s] an important starting point.” Id.;




     19 In discriminatory intent cases, the Supreme Court at times
discussed disparate impact seemingly outside the context of the
Arlington Heights factors. See Hunter, 471 U.S. at 227–28; Castaneda,
430 U.S. at 495–96. But in other more recent cases, both the Supreme
Court and this Court have considered disparate impact as one of the
factors relevant to discriminatory intent. See, e.g., Reno v. Bossier Par.
Sch. Bd., 520 U.S. 471, 487 (1997); Church of Lukumi Babalu Aye v.
City of Hialeah, 508 U.S. 520, 535–38 (1993); see also Ave. 6E Invs., 818
F.3d at 507–08; Arce v. Douglas, 793 F.3d 968, 978 (9th Cir. 2015). As
the more recent cases establish, neither disparate impact nor any other
single factor must be shown to establish discriminatory intent under
Arlington Heights. Regardless, the district court correctly concluded
that the evidence of disparate impact here amply supports an inference
of intentional discrimination. 1-ER-2, 7, 9–13; cf. Arlington Heights,
429 U.S. at 264–65.

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see Columbus Bd. of Educ., 443 U.S. at 464–65; Ave. 6E Invs., 818 F.3d

at 507–08. As the Supreme Court has explained, the “impact of an

official action is often probative of why the action was taken in the first

place since people usually intend the natural consequences of their

actions.” Reno, 520 U.S. at 487. The district court correctly concluded

this factor favors finding discriminatory intent.20 1-ER-9–13.

     The racially disparate impact of § 1326 is stark. An overwhelming

percentage of prosecutions for illegal reentry—regularly surpassing

99% each year—are against Latino defendants. 21 The Supreme Court

has found such impact sufficient—even absent other evidence—to infer

discriminatory intent. See Gomillion v. Lightfoot, 364 U.S. 339, 341

(1960) (99% of affected voters); Lane v. Wilson, 307 U.S. 268, 275–77

(1939) (most potential voters); Guinn v. United States, 238 U.S. 347,




     20 The government complains of the “excessive weight” the district
court placed on this factor. OB-54. That objection cannot support
reversal on clear error review. Lewis, 681 F.3d at 998–99; Lahoti, 586
F.3d at 1196.
     21 See, e.g., Quick Facts: Illegal Reentry Offenses, Fiscal Year 2020,
United States Sentencing Commission, https://www.ussc.gov/sites/
default/files/pdf/research-and-publications/quick-facts/Illegal_Reentry_
FY20.pdf.

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364–65 (1915) (similar); Yick Wo v. Hopkins, 118 U.S. 356, 365–66, 374

(1886) (100% of businesses affected by ordinance); see also Arlington

Heights, 429 U.S. at 266 (reaffirming continued application of rule that

particularly stark disparate impact can suffice to show discriminatory

intent).

     In Yick Wo, the Supreme Court considered a San Francisco

ordinance that, although facially neutral, affected all the Chinese-run

laundries in the city. 118 U.S. at 365–69. And, in Gomillion, the

Supreme Court considered an Alabama law that removed most Black

voters, but not a single white voter, from the boundaries of the City of

Tuskegee. 364 U.S. at 341. The Supreme Court explained in both cases

that facially neutral laws violate equal protection when their impact is

borne almost exclusively by a protected class. Yick Wo, 118 U.S. at

365–69; Gomillion, 364 U.S. at 341, 347–48.

     The same rationale in Yick Wo and Gomillion applies here—the

impact on Latino immigrants is so stark, “a clear pattern,

unexplainable on grounds other than race, emerges[.]” Arlington

Heights, 429 U.S. at 266. Of course, here, these statistics serve only as

the starting point for determining the legislature’s intent in passing



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§ 1326. Arlington Heights, 429 U.S. at 266. The 1929 legislature

criminalized reentry specifically to target Latino migrants. See infra,

pp. 6–12. By 1952, it was clear the 1929 legislature had achieved its

goals with exacting precision. See 4-ER-589–590. When a legislature

enacts a law “‘because of,’ not merely ‘in spite of,’ its adverse effects

upon an identifiable group,” discriminatory intent is established.

Feeney, 442 U.S. at 279 & n.25; see Church of Lukumi Babalu Aye, 508

U.S. at 535–38; see also 2-ER-133 (connecting disparate impact of §

1326 to discriminatory purpose). This Court has held similar

disparities relevant when considering equal protection claims under the

Arlington Heights framework. See Ave. 6E Invs., 818 F.3d at 508; Arce,

793 F.3d at 978.

      The government does not dispute that nearly everyone prosecuted

under § 1326 is Latino. Instead, the government focuses on the

nondiscriminatory reasons, in its view, this disparate impact exists: the

2,000-mile border between the United States and Mexico and the

percentage of Latino people “illegally in the United States.” OB-36. As

the district court correctly explained, the government’s circular

arguments misapprehend the disparate impact analysis. 1-ER-12–13.



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The 1929 legislature knew the high percentage of Latino immigrants

who crossed the southern border each year. 1-SER-199–200. And the

legislature, for that reason, created a law focused on those immigrants.

See Arthur v. Nyquist, 573 F.2d 134, 144–45 (2d Cir. 1979) (finding

discriminatory intent when “plan which resulted in the school’s having

a student population over 99% black was selected”). Most obviously, it

could have criminalized overstaying a visa. But it did not, because

doing so would not have served its racist goals.

     Then, the 1952 legislature, with 23 years of data about illegal

reentry prosecutions and with members still in office who voted for the

1929 law, reenacted the law, perpetuating the intended disparate

impact. In similar cases, both this Court and the Supreme Court have

concluded disparate impact supports a finding of discriminatory intent.

See Church of Lukumi Babalu Aye, 508 U.S. at 535–38; Ave. 6E Invs.,

818 F.3d at 508; Arce, 793 F.3d at 978.

     The cases the government relies on differ. OB-36–39, 52–53. In

Ramos v. Wolf, this Court rejected an equal protection challenge to

Executive Branch decisions terminating the TPS program for some

countries (but not others), based on the challengers’ “glaring lack of



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evidence tying the President’s alleged discriminatory intent to the

specific TPS terminations.” 975 F.3d at 878–83, 897. Although the four

countries canceled from the program had largely non-white populations,

the remaining countries had similar demographics. Id. at 898. And the

challengers presented no evidence tying then-President Trump’s

discriminatory statements to the cancellation. Id. Similarly, in

Regents, the Supreme Court rejected an equal protection argument

based only on disparate impact, explaining, “[w]ere this fact sufficient to

state a claim, virtually any generally applicable immigration policy

could be challenged on equal protection grounds.” 140 S. Ct. at 1915–

16. Both cases thus differ from this one, where the legislature,

intending to create a disparate impact, enacted a law specifically

targeting Latino immigrants out of a desire to engineer the country’s

racial composition.

     The two cases the government cites about the “crack-powder”

sentencing disparity are inapposite. In United States v. Coleman, the

defendant presented no evidence of either disparate impact or

discriminatory purpose, instead arguing discriminatory intent could be

inferred from Congress’s failure to amend the law. 24 F.3d 37, 38–39



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(9th Cir. 1994). But Arlington Heights is concerned with “official

action,” not inaction. 429 U.S. at 264–65. The next year, the defendant

in United States v. Dumas added to the argument statistics showing

disparate impact, but there was still no evidence showing

discriminatory purpose by the 1986 legislature that created the crack-

powder disparity. 64 F.3d 1427, 1429–30 (9th Cir. 1995). This Court,

therefore, held that “disparate impact alone is insufficient to support a

finding of invidious racial discrimination in a facially neutral law.” Id.

(quoting Davis, 426 U.S. at 239). Here, as the district court repeatedly

explained, it did not solely rely on disparate impact, but also considered

extensive evidence on the remaining Arlington Heights factors. 1-ER-6–

35.

      Finally, the government challenges the district court’s factual

finding that the 1952 legislature knew the disparate impact of the

illegal reentry provision. OB-52 (citing 1-ER-26). As the government

notes, OB-44, thirty congressional members who debated and voted for

the 1929 law were still in office in 1952. See infra, pp. 12–13. And the

government admits the disparate impact of the law would have been

obvious given the southern border. OB-35–36. Carrillo-Lopez also



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presented unrebutted evidence Congress was specifically concerned

about the “Wetback problem,” i.e., undocumented immigration over the

southern border. See 2-ER-158–171, 180–183; 98 Cong. Rec. 793–794,

799 (1952); see also 3-ER-437. In addition, the extensive 1950 senate

report that prompted the INA found that 90% or more of illegal

immigrants removed from the United States were Latino. S. Rep. 81-

1515, at 630–35. The district court relied on this 1950 report, noting

the 1952 legislators heard INS testimony about the Mexican border

being specifically problematic for illegal reentry prosecutions. 1-ER-27

(quoting 3-ER-412–414 (excerpt of S. Rep. 81-155 at 654–56)). Given

these reports and testimony, the 1952 Congress was well aware that

continuing criminal illegal reentry prosecutions disparately impacted

Latinos.

     Thus, it was reasonable—and not clearly erroneous—for the

district court to conclude the 1952 legislature was aware it was

perpetuating the disparate impact by reenacting the illegal reentry

provision. See Ave. 6E Invs., 818 F.3d at 508 (concluding circumstantial

evidence established government officials’ awareness of disparate

impact); see also Pac. Shores Props., L.L.C. v. City of Newport Beach,



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730 F.3d 1142, 1158–59 (9th Cir. 2013) (discriminatory intent can be

proven by circumstantial evidence); Alexander, 675 F.2d at 791 (same).

            2.    Congress passed the Undesirable Aliens Act
                  and the McCarran-Walter Act during times of
                  widespread public anti-Latino animus.

     The historical background and widespread racist sentiment

against which illegal reentry was criminalized also provides important

information about the legislature’s discriminatory intent. 1-ER-7, 9, 23,

25–27, 32. During both the 1920s and 1950s, “discriminatory practices

were commonly utilized.” Rogers v. Lodge, 458 U.S. 613, 625 (1982); see

Ave. 6E Invs., 818 F.3d at 504–05; Jean, 711 F.2d at 1491–92.

     During the overtly racist 1920s, Latino immigrants in the

southwestern United States lived segregated, disenfranchised lives,

attending separate and unequal schools, then toiling in literally

backbreaking employment. 1-ER-14; 2-ER-93–94, 120–121; 4-ER-586.

And Latinos both inside and outside the United States were stereotyped

and degraded by popular eugenics theorists who preached the

supremacy of Western European immigrants. 2-ER-88–89; 4-ER-584.

     Although some of the language changed after the 1920s with the

waning popularity of eugenics theories, the anti-Latino animus did not.



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See Aman v. Cort Furniture Rental Corp., 85 F.3d 1074, 1082–83 (3d

Cir. 1996) (explaining discriminatory intent can be implicit in coded

comments); see also Hernandez v. Texas, 347 U.S. 475, 479–80 (1954)

(describing differences in treatment of white Americans versus Latino

Americans). It was not until 1946 that this Court struck down de jure

segregation of Latino students in unequal California schools.

Westminster Sch. Dist. v. Mendez, 161 F.2d 774 (9th Cir. 1947). The

1952 reenactment occurred two years before the Supreme Court struck

down school segregation, Brown v. Bd. of Educ., 347 U.S. 483 (1954),

and fifteen years before it struck down a law banning interracial

marriage, Loving, 388 U.S. 1. And fifteen more years passed before the

Supreme Court required Texas officials to provide educational services

to undocumented Latino children. Plyler, 457 U.S. 202.

     Throughout this time, Latino immigrants were regularly subjected

to inhumane treatment at the border and places of employment, before

being arrested, imprisoned, and deported. 2-ER-37, 110–111, 134–139,

147–158, 185–188; 3-ER-309–310. And, as noted previously, the federal

government unlawfully arrested and “deported” thousands of Latinos,




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including many American citizens, in “Operation Wetback,” in the years

following passage of the 1952 reenactment. See supra, pp. 3, 16–17.

            3.    The events surrounding the criminalization of
                  illegal reentry support the legislatures’
                  discriminatory intent.

     In addition to evidence of bias in the community, crucial here was

the extent to which those biases were explicitly incorporated into the

criminalization of illegal reentry. See Ave. 6E Invs., 818 F.3d at 504–05

(concluding plaintiffs sufficiently alleged discrimination by government

action designed to appease anti-Hispanic constituents). Business

owners wanted an exploitable, temporary laborer class, clashing with

those wanting to permit only Western Europeans to immigrate. Despite

their sometimes-adverse goals, both groups viewed Latino immigrants

as “undesirable.” The slur “wetback” was repeatedly used during the

1952 debates, which as Senator McCarran explained, “is applied to

labor from across the Rio Grande.” 98 Cong. Rec. 5766 (1952).

     Thus, when Congress criminalized illegal reentry, § 1326

incorporated the biases of both groups, supporting the district court’s

conclusion § 1326 violates equal protection. Arce, 793 F.3d at 978–81;

Ave. 6E Invs., 818 F.3d at 504–505. Even now, the government never



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explains why any of the legislatures that reenacted this provision chose

to criminalize illegal entry and reentry, but not overstaying visas—

which would have affected a more racially diverse segment of

immigrants.

            4.    Both legislatures departed from normal
                  procedures in enacting and reenacting the
                  illegal reentry provision.

     The district court also properly relied on the legislators’ departure

from normal procedures in its drive to criminalize illegal reentry. See

Arlington Heights, 429 U.S. at 267; Arce, 793 F.3d at 980. Several

aspects of the 1929 and 1952 legislative processes distinguish § 1326

from other statutes.

     The 1920s immigration legislation, including the 1929 Act,

uniquely relied openly on the racist theory of eugenics, and the illegal

reentry provision is one of its last remnants. 1-ER-16. Legislative

debates during both periods focused on the southern border—even

though Canadians were also entering the United States in record

numbers. 1-SER-201.

     Moreover, Congress deliberately decided not “to punish employers

who hired illegal immigrants and instead only punish[ed] the laborers



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themselves,” to appease the “hunger of the agricultural industry for

exploitable labor and the desire to keep America’s identity white.” 1-

ER-25. These facts amply support the district court’s finding that

Congress departed from normal procedures in 1929 and 1952 precisely

to discriminate against Latino immigrants. 1-ER-16; see Jean, 711 F.2d

at 1490–92.

            5.    Discriminatory intent appears in the
                  legislative history of both the 1929 enactment
                  and 1952 reenactment.

     The 1920s Congress that initially criminalized illegal reentry was

unapologetically racist. See supra, pp. 6-12. The legislators, including

those who continued in office through 1952, enthusiastically courted

eugenics theorists, embracing the popular view “undesirable”

immigrants from nonwhite countries would pollute America’s

bloodstream. 1-SER-104–192, 200, 223; 4-ER-584–585; see also supra,

pp. 12–17. Congressmen openly called Latino migrants “peons” and

“mongrels.” 1-ER-216; 4-ER-586; 1-SER-199, 219–220, 256; 70 Cong.

Rec. 3619 (1929); 65 Cong. Rec. 5841 (1924). The bill’s sponsor

specifically focused on curbing Latino immigration: “Unless we stop

them right soon we will have in 15 or 20 years a great race problem in



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all of the southwestern part of the United States. The Mexican peon

will fill the fertile valleys of California and Arizona and the rich plains

of Texas, crawling farther north every year. We must stop it.” 70 Cong.

Rec. 5200 (1929). The government conceded this anti-Latino racism

was enough to satisfy Carrillo-Lopez’s burden about the initial

enactment of the illegal reentry statute in 1929. 4-ER-482–483; see 1-

ER-13 & n.17; OB-11–12.

     It is against the background of the racist, nativist 1929 Act and

the heels of the Wetback Bill that Congress continued entrenchments of

racism into the McCarran-Walter Act of 1952. The 1952 Congress,

which included several members from the 1929 Congress, did not

confront the blatantly racist and nativist immigration laws of 1929.

     The 1950 senate report by McCarran, relied on for the 1952 Act, is

replete with racism—starting with an introductory chapter dividing the

world population into various races. S. Rep. 18-1515. This report

believed Latino immigrants were “coming into the United States

illegally at a rate of 20,000 per month,” and that people entering

illegally after being deported is “principally a southern border problem.”

S. Rep. 18-1515, at 364-65. McCarran’s report denigrated Latino



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immigrants as particularly undesirable due to alleged: low-percentage

of English speakers; inability to assimilate to “Anglo-American” culture

and education, with Latino students believed to be “as much as 3 years

behind”; and a high number receiving “public relief.” S. Rep. 81-1515,

at 150-52. And overt racism continued in both House and Senate

debates of the INA. See, e.g., 98 Cong. Rec. 5773–74 (1952) (statement

of Sen. George: “Mr. President, I hope the time has not come when one

must apologize for being a hateful Anglo-Saxon.”); see also supra, pp.

12–17.

     In addition, the slur “wetback” features prominently in the

congressional record from the 1952 Act—as evidenced by repeated index

entries. See, e.g., 98 Cong. Rec., Index to the Proceedings, 82nd

Congress, at 439 (“Wetbacks. See Mexico.”); see also Hearings before the

Subcomm. of the S. Comm. on Appropriations, 82nd Cong. 124 (1951);

Hearings before the Subcomm. of the S. Comm. on Appropriations: H.R.

4974, 83rd Cong. 245–46 (1953); 2-ER-158–171; 3-ER-437, 439. Deputy

Attorney General Peyton Ford perpetuated the derogatory racial slur by

including it in a letter to McCarran supporting § 1326 specifically. 1-

ER-22. Hitler’s eugenics-based beliefs were lauded on the House floor.



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See 98 Cong. Rec. 4314 (1952) (at 2-ER-177–78). The result was a law

that, like its 1929 predecessor, disproportionately favored white,

Western European immigrants. 99 Cong. Rec. 1517–18 (1953); see also

1-SER-19–20.

     These same aspects of the bill led to President Truman’s veto and

condemnation as “legislation which would perpetuate injustices of long

standing” and “intensify the repressive and inhumane aspects of our

immigration procedures.” 3-ER-21–27. Two days later, Congress

overrode the veto and passed the Act despite presidential concerns

about discrimination. As the district court correctly found, “Congress’

failure to heed President Truman’s call to ‘reimagine’ immigration

while simultaneously making [the Act], more punitive in nature, is

evidence of at least indifference to the nativist motivations of the

statute’s predecessor.” 1-ER-22.

     The government focuses on these two underlying facts—

enactment of the McCarran-Walter Act over President Truman’s veto

and use of the slur “wetback”—to argue the district court improperly

concluded the 1952 legislature enacted § 1326 with discriminatory

intent. OB-46–51. The district court properly considered both these



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undisputed facts as part of the totality of the circumstances in

concluding discriminatory intent existed. Arce, 793 F.3d at 979–80

(considering legislative and administrative proceedings). At a

minimum, neither finding comes close to clear error.

     Turning first to President Truman’s veto, OB-46–47, true enough,

Truman said nothing about § 1326 specifically—either positive or

negative. But when President Truman discussed the portions of the bill

he approved, he focused on the permissive provisions expanding

immigration to the United States. 3-ER-421. When discussing the

portions of the bill he found concerning, in contrast, he focused on the

restrictive provisions, limiting immigration from certain countries,

broadening the grounds for deportation, and curbing discretionary

relief. 3-ER-421–427. Thus, when President Truman explained the

“few improvements” in the bill were “heavily outweighed by other

provisions,” it strains credulity to presume he grouped the restrictive

illegal reentry provision with the permissive provisions of the INA—

particularly when the disparate impact of the 1929 provision was so

obvious. 3-ER-421; see 1-ER-26–27. The district court did not clearly




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err in relying on § 1326’s enactment over President Truman’s veto to

infer discriminatory intent. 1-ER-21–22.

     Second, the government insists the court “misapprehended” the

slur “wetback” in the Ford letter and legislative history for anti-

harboring legislation passed two months before § 1326. OB-47–51. The

district court did not commit clear error in concluding the term is a

racist slur. That finding is supported by unrebutted evidence

establishing that the slur “wetback” was used in the 1950s to refer in a

derogatory way to Latino immigrants. 1-ER-23 n.5; 2-ER-149–151, 153,

156–171, 174–175, 180, 186, 190–192, 223–231, 237–238. Several

courts have rightly recognized the term as racially derogatory. See, e.g.,

Pavon v. Swift Transp. Co., 192 F.3d 902, 909 (9th Cir. 1999); Flores v.

Merced Irrigation Dist., 758 F. Supp. 2d 986, 998 (E.D. Cal. 2010).

     Like all slurs, the term “wetback” has a complicated history. As

Carrillo-Lopez’s expert acknowledged, Caesar Chavez (a U.S. citizen)

used the term to derogatively refer to undocumented Latino migrants,

who were competing for jobs with the documented Latino union

members for whom Chavez advocated. 1-ER-225–230. But the racial

identity of the speaker in one instance—or use of the slur by federal



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courts and the president, OB-48–49 & n.9—does not render legislators’

use of the slur race neutral. Cf. Castaneda, 430 U.S. at 499–500

(rejecting argument that inclusion of Mexican-Americans in grand jury

selection process insulated that process from claims of anti-Latino

discrimination). Rather, it illustrates that anti-Latino sentiment was

sufficiently mainstream—unsurprising at a time when interracial

marriage was banned and segregation widespread. See Ave. 6E Invs.,

818 F.3d at 506 (explaining “words themselves are only relevant for

what they reveal—the intent of the speaker”); Galdamez v. Potter, 415

F.3d 1015, 1024 n.6 (9th Cir. 2005).

     Here, using a racialized term to refer in a derogatory way to a

protected group is a clear sign of discriminatory intent. See Ave. 6E

Invs., 818 F.3d at 505–06; Galdamez, 415 F.3d at 1024 n.6; Aman, 85

F.3d 1074. The district court did not err in relying on this evidence as

part of the Arlington Heights analysis. And, at a minimum, it did not

err in concluding that a legislature that used this slur was not

simultaneously “confront[ing]” the law’s “tawdry past” of race

discrimination with the intend to purge the racist intent that the slur




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itself expresses. Ramos, 140 S. Ct. at 1410 (Sotomayor, J., concurring

in part).

      In addition, by only addressing these two factual findings, the

government ignores a wealth of other evidence on which the district

court relied to establish that the 1952 legislature harbored anti-Latino

animus. See, e.g., 1-ER-9–13 (stark disparate impact); 1-ER-13–14

(nativists in Congress driving 1929 Act); 1-ER-14–16 (congressional

reliance on eugenics); 1-ER-16 (racist vitriol directed at immigrants

crossing southern border but not northern border); see also Davis, 426

U.S. at 242 (“[I]nvidious discriminatory purpose may often be inferred

from the totality of the relevant facts[.]”); League of Women Voters of

Fla., Inc. v. Lee, ___ F. Supp. 3d ___, 2022 WL 969538, at *16 (N.D. Fla.

Mar. 31, 2022) (same). The government disregards that the standard

for discriminatory intent recognizes “officials acting in their official

capacities seldom, if ever, announce on the record that they are

pursuing a particular course of action because of their desire to

discriminate against a racial minority.” Arce, 793 F.3d at 978 (quoting

Smith, 682 F.2d at 1064, 1066). Here, the direct and circumstantial

evidence of discriminatory intent from both the 1929 and 1952



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legislatures amply supports the district court’s dismissal of Carrillo-

Lopez’s indictment.

     C.     The government failed to prove § 1326 would have
            been enacted without the impermissible racist
            motivations.

     Once Carrillo-Lopez met his burden of proof under Arlington

Heights, the government had to prove “that the same decision would

have resulted even had the impermissible purpose not been considered.”

1-ER-35 (quoting Arlington Heights, 429 U.S. at 270 n.21). The

government offered no independent evidence in the district court to

make that showing. See Castaneda, 430 U.S. at 497–99 (emphasizing

importance of rebuttal evidence for government to satisfy its burden

under Arlington Heights). Now, on appeal, the government relies on

amendments to § 1326 in the 1980s and 1990s, along with testimony

from Carrillo-Lopez’s experts.

     The government’s arguments conflate its burden with rational-

basis review. It is not enough to point to any plausible rationale for

discriminatory government action; the government must instead show

the same law would have passed at the same time without

discriminatory intent. See Arlington Heights, 429 U.S. at 270 n.21;



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Castaneda, 430 U.S. at 497–98; see also Hunter, 471 U.S. at 233

(rejecting reliance on contemporary rationales to support provision

passed long ago with discriminatory intent).

     That error alone is fatal to the government’s position. Moreover,

when understood in their proper context, neither the amendments nor

expert testimony support the government’s argument, and the district

court correctly concluded the government did not satisfy its burden. 1-

ER-35–44.

            1.   Amendments after 1952 failed to purge the law
                 of its racial animus and carried forward the
                 same or similar language.

     The district court considered amendments to § 1326 (in 1988,

1990, 1994, and twice in 1996), concluding they were insufficient for the

government to meet its burden. 1-ER-7–9, 40–44. Yet the government

maintains this argument on appeal, asserting Congress “repeatedly

expanded Section 1326’s scope” and its “penalties without any evidence

of discriminatory intent,” which it purports to mean “the law would

have passed in the first instance absent any impermissible motive.”

OB-69. This claim is meritless. Congressional actions in the 1980s and




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1990s did not confront the racist origins of § 1326. See Abbott, 138 S.

Ct. at 2325; Hunter, 471 U.S. at 233.

     The district court correctly read Supreme Court precedent as

requiring Congress to express its intent to break from legislative racist

origins, concluding no such expression exists here. 1-ER-40–44. As the

Supreme Court explained in Abbott, the discriminatory taint of a law

remains unless something is done to “alter the intent with which the

[original] article, including the parts that remained, had been adopted.”

Abbott, 138 S. Ct. at 2325 (emphasis added). The district court correctly

found that no amendment sought to “grapple with the racist history of

Section 1326 or remove its influence on the legislation” or “reflect[ed]

any change of Congressional intent, policy, or reasoning.” 1-ER-41–42

(citing Espinoza, 140 S. C. at 2274) (Alito, J., concurring); Ramos, 140 S.

Ct. at 1410 (Sotomayor, J., concurring in part)). The amendments thus

did not cleanse the original law of its discriminatory taint. See Abbott,

138 S. Ct. at 2325; Hunter, 471 U.S. at 233.22




      While Congress did not reference the racist history of § 1326
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when passing immigration legislation in the 1980s and 1990s, many of



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     And none of the amendments, as the district court correctly found,

“substantively altered the original provision” or “change[d] the

operation of § 1326.” 1-ER-41–42. This finding is in accord with the

Supreme Court’s holding that the § 1326 amendments did not alter the

meaning of the substantive offense, describing the 1990 amendment in

particular as mere “housekeeping.” Almendarez-Torres v. United

States, 523 U.S. 224, 237 (1998). Analyzing the legislative record for

the amendments, the Supreme Court noted the amendments merely

increased penalties and “updated and simplified” the statute. Id. at

233. The Supreme court held the “history” of the amendments

“contains no language at all that indicates Congress intended to create

a new substantive crime.” Id. at 234.

     The government is incorrect to suggest Carrillo-Lopez did not

allege, and the district court did not make, this conclusion. Compare

OB-57, with 1-ER-40–43, and 1-SER-33–35; 2-ER-171–172, 200–201,

210–220; 4-ER-477, 489. The dismissal order concludes the



the statements it did make appealed to racist stereotypes of immigrants
as criminals, perpetuating and enhancing § 1326’s racist origins. 2-ER-
171–173.



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“amendments do not reflect any change of Congressional intent, policy,

or reasoning” from “the racism that initially motivated the Act of 1929

or the discriminatory intent that was contemporaneous with the 1952

reenactment.” 1-ER-41–42.

     Because the government cannot prove clear error in the district

court’s finding that the amendments did not cleanse the original law of

its discriminatory taint, this Court should affirm. The opposite

conclusion the government proposes defies common sense, allowing

legislatures to shield legislation from equal protection review by simply

reenacting or amending every racist statute without debate.

            2.    Carrillo-Lopez’s expert testimony, quoted out
                  of context, does not support the government’s
                  argument.

     The district court considered other purportedly race-neutral

motivations for § 1326, none of which it found viable—economic

competition, national security, and foreign relations. 1-ER-35. The

government repeats those reasons on appeal, quoting Carrillo-Lopez’s

experts out of context. As the district court explained, the unrebutted

expert testimony “‘convincingly’ demonstrate[d] that the government’s

proffered reasons are so intertwined with racial animus,” the



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government cannot satisfy its burden of proving § 1326 would have

been enacted absent racist motivations. 1-ER-36; see 2-ER-78–247.

     The government’s resort to these purportedly race-neutral reasons

conflates its burden under Arlington Heights with rational-basis review.

Under rational-basis review, courts consider only whether a challenged

provision is “rationally related to a legitimate governmental purpose.”

City of Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432, 446

(1985). Arlington Heights, on the other hand, requires the government

to prove actual—not theoretical—reasons other than race-based animus

that would have actually supported the government action at the time it

was taken. See Arlington Heights, 429 U.S. at 270 n.21; Castaneda, 430

U.S. at 497–98.

     In addition, although the government suggests alternative reasons

Congress now might want to reenact § 1326, the district court correctly

found each proffered alternative would not have motivated the Congress

that enacted the statute. 1-ER-36–39.

     As the district court noted, Professor Lytle Hernandez testified to

the belief surrounding criminalization of illegal reentry “that increased

border enforcement would improve job security.” 1-ER-36 (quoting 1-



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ER-104–105). But Professor Lytle Hernandez explained this economic

belief was rooted in discrimination, segregation, and driven by an

inaccurate, racialized belief of a “zero sum game of jobs.” 1-ER-36–37

(quoting 2-ER-104–105).

        As for national security and foreign relations, the district court

correctly found, based on Professor Lytle Hernandez’s testimony, these

concerns were also rooted in racial animus, as “the story of race

transcends the border.” 1-ER-37–38 (quoting 2-ER-114). In addition,

the relationship between Mexico and the United States was not an

equal one: “Mexico ‘is a junior partner’ in the two countries’ partnership’

and … ‘they’re not dictating, by any means, to the United States

Government about how this is going to go.’” 1-ER-38–39 (quoting 2-ER-

108).

        The district court’s decision to credit that testimony was not clear

error. Under clear error review, the district court has “expertise” in

“determinations of credibility” and “determination[s] of fact.” Anderson,

470 U.S. at 574. Thus, “[t]he rationale for deference to the original

finder of fact is not limited to the superiority of the trial judge’s position

to make determinations of credibility.” Id.



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     The government also complains the district court reviewed the

alternative theories individually, instead of in their totality. OB-60.

But as the district court explained, because none of the government’s

proffered reasons can be separated from racial animus, the combination

of those factors enhances, rather than detracts from, the racism

underlying § 1326. 1-ER-36–39; cf. United States v. Thomas, 211 F.3d

1186, 1192 (9th Cir. 2000) (explaining the “sum of zeros” is still zero).

The government simply provided no evidence to support its position.

The district court committed no clear error in holding the government

to its burden of proof.

                                 Conclusion

     The district court correctly applied the Arlington Heights equal

protection framework to analyze § 1326’s constitutionality. Congress’s

power to enact immigration laws is powerful, but its power is not

limitless. Federal courts bear the duty to uphold the Constitution, and

Congress cannot dilute the constitutional protections of criminal

defendants to assert, and fully and fairly develop, a Fifth Amendment

Equal Protection challenge. Carrillo-Lopez asks this Court to affirm the




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district court’s application of Arlington Heights in dismissing the

indictment.

     Dated: April 8, 2022.

                                     Respectfully submitted,
                                     RENE L. VALLADARES
                                     Federal Public Defender

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                 UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
     Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form17instructions.pdf

9th Cir. Case Number(s)              21-10233


The undersigned attorney or self-represented party states the following:

    I am unaware of any related cases currently pending in this court.

    I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

    I am aware of one or more related cases currently pending in this court. The
    case number and name of each related case and its relationship to this case are:

       the following pending cases challenging the constitutionality of 8 U.S.C.
       §1326 under the equal protection component of the Fifth Amendment
       Clause, though the record in each varies: United States v. Vasquez-Ortiz,
       9th Cir. Case No. 21-10309 (government appeal of motion to dismiss 8
       U.S.C. §1326 charge under the equal protection component of the Fifth
       Amendment Clause stayed pending resolution of United States v. Carrillo-
       Lopez); and United States v. Rodrigues-Barios, 9th Cir. 21-50145 (defense
       appeal of denial of motion to dismiss 8 U.S.C. §1326 charge under the
       equal protection component of the Fifth Amendment Clause, opening brief
       filed March 14, 2022)


Signature      s/ Lauren D. Gorman                                     Date April 8, 2022
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                          FOR THE NINTH CIRCUIT
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                          FOR THE NINTH CIRCUIT
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  Ely State Prison
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  4569 North State Route 490
  Ely, Nevada 89031


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  Appellee Answering Brief




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              ADDENDUM
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                                      Addendum


Constitutional Provisions

U.S. Const., amend. V .................................................................... A1


Federal Statutes
8 U.S.C. § 1326 (as last amended in 1996) .................................... A2

Immigration and Nationality Act of 1952
  (McCarran-Walter Act of 1952), Pub. L. No. 82-414, § 276,
  66 Stat. 229 (June 27, 1952) ..................................................... A4

Undesirable Aliens Act of 1929,
 Pub. L. No. 70-1018, ch. 690, 45 Stat. 1551
 (March 4, 1929) ......................................................................... A5
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Amendment V. Grand Jury Indictment for Capital Crimes;..., USCA CONST Amend....




 United States Code Annotated
  Constitution of the United States
     Annotated
       Amendment V. Grand Jury; Double Jeopardy; Self-Incrimination; Due Process; Takings

                                           U.S.C.A. Const. Amend. V full text




No person shall be held to answer for a capital, or otherwise infamous crime, unless on a presentment or indictment of
a Grand Jury, except in cases arising in the land or naval forces, or in the Militia, when in actual service in time of War
 or public danger; nor shall any person be subject for the same offence to be twice put in jeopardy of life or limb; nor
  shall be compelled in any criminal case to be a witness against himself, nor be deprived of life, liberty, or property,
      without due process of law; nor shall private property be taken for public use, without just compensation.




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§ 1326. Reentry of removed aliens, 8 USCA § 1326




  United States Code Annotated
   Title 8. Aliens and Nationality (Refs & Annos)
      Chapter 12. Immigration and Nationality (Refs & Annos)
        Subchapter II. Immigration
           Part VIII. General Penalty Provisions

                                                         8 U.S.C.A. § 1326

                                               § 1326. Reentry of removed aliens

                                                 Effective: September 30, 1996
                                                          Currentness


(a) In general

Subject to subsection (b), any alien who--


  (1) has been denied admission, excluded, deported, or removed or has departed the United States while an order of exclusion,
  deportation, or removal is outstanding, and thereafter


  (2) enters, attempts to enter, or is at any time found in, the United States, unless (A) prior to his reembarkation at a place outside
  the United States or his application for admission from foreign contiguous territory, the Attorney General has expressly
  consented to such alien's reapplying for admission; or (B) with respect to an alien previously denied admission and removed,
  unless such alien shall establish that he was not required to obtain such advance consent under this chapter or any prior Act,

shall be fined under Title 18, or imprisoned not more than 2 years, or both.


(b) Criminal penalties for reentry of certain removed aliens

Notwithstanding subsection (a), in the case of any alien described in such subsection--


  (1) whose removal was subsequent to a conviction for commission of three or more misdemeanors involving drugs, crimes
  against the person, or both, or a felony (other than an aggravated felony), such alien shall be fined under Title 18, imprisoned
  not more than 10 years, or both;


  (2) whose removal was subsequent to a conviction for commission of an aggravated felony, such alien shall be fined under
  such title, imprisoned not more than 20 years, or both;




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§ 1326. Reentry of removed aliens, 8 USCA § 1326




  (3) who has been excluded from the United States pursuant to section 1225(c) of this title because the alien was excludable
  under section 1182(a)(3)(B) of this title or who has been removed from the United States pursuant to the provisions of
  subchapter V, and who thereafter, without the permission of the Attorney General, enters the United States, or attempts to
  do so, shall be fined under Title 18 and imprisoned for a period of 10 years, which sentence shall not run concurrently with
  any other sentence. 1 or


  (4) who was removed from the United States pursuant to section 1231(a)(4)(B) of this title who thereafter, without the
  permission of the Attorney General, enters, attempts to enter, or is at any time found in, the United States (unless the Attorney
  General has expressly consented to such alien's reentry) shall be fined under Title 18, imprisoned for not more than 10 years,
  or both.

For the purposes of this subsection, the term “removal” includes any agreement in which an alien stipulates to removal during
(or not during) a criminal trial under either Federal or State law.


(c) Reentry of alien deported prior to completion of term of imprisonment


Any alien deported pursuant to section 1252(h)(2) 2 of this title who enters, attempts to enter, or is at any time found in, the
United States (unless the Attorney General has expressly consented to such alien's reentry) shall be incarcerated for the remainder
of the sentence of imprisonment which was pending at the time of deportation without any reduction for parole or supervised
release. Such alien shall be subject to such other penalties relating to the reentry of deported aliens as may be available under
this section or any other provision of law.


(d) Limitation on collateral attack on underlying deportation order

In a criminal proceeding under this section, an alien may not challenge the validity of the deportation order described in
subsection (a)(1) or subsection (b) unless the alien demonstrates that--


  (1) the alien exhausted any administrative remedies that may have been available to seek relief against the order;


  (2) the deportation proceedings at which the order was issued improperly deprived the alien of the opportunity for judicial
  review; and


  (3) the entry of the order was fundamentally unfair.


                                                            CREDIT(S)

   (June 27, 1952, c. 477, Title II, ch. 8, § 276, 66 Stat. 229; Pub.L. 100-690, Title VII, § 7345(a), Nov. 18, 1988, 102 Stat.
4471; Pub.L. 101-649, Title V, § 543(b)(3), Nov. 29, 1990, 104 Stat. 5059; Pub.L. 103-322, Title XIII, § 130001(b), Sept. 13,
1994, 108 Stat. 2023; Pub.L. 104-132, Title IV, §§ 401(c), 438(b), 441(a), Apr. 24, 1996, 110 Stat. 1267, 1276, 1279; Pub.L.
104-208, Div. C, Title III, §§ 305(b), 308(d)(4)(J), (e)(1)(K), (14)(A), 324(a), (b), Sept. 30, 1996, 110 Stat. 3009-606, 3009-618
to 3009-620, 3009-629.)




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66 STAT.)            PUBLIC LAW 414-JUNE 27, 1952                             229




                      REE�"TBl- OF DEl'OUTED .l.LlEN
   SEc. 276. Any alien who-
         (I) has been arrested a11d deported or excluded n11d deported,
      and thereafter
         (2) enters, attempts to enter, or is at any time found i11, the
      United States, unless (.A) prior to his reembarkation at 1i pluce
      outside the United States or hls application for admission from
      foreign contiguous territory, the Attorney General has expressly
      consented to su?h alien'� re.'lpplying for admission; or (B) with
      respect to an ahen previously excluded and deported. unless such
     alien shall establish that l1e was not required to obtain such advance
      consent under this or any prior A.ct,
slrnll be guilty of a felony, and upon conviction thereof, be punished
by imprisonment of not more than two years, or by a fine of not more
than $1,000, or both.




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        SEVENTIETH CONGRESS.                        SESS. II.   CH. 690.   1929.                    1551
     CHAP. 690.-An Act Making it a felony with penalty for certain aliens to              Marc h 4,1920.
   enter the United States of America under certain conditions in violation of law.         [B .ow".
         Be it enacted by the Senate and House of Repre8entatives of Me
      United States of America in Congress assembled, That (a) if any Immigration.
      alien has been arrested and deported in pursuance of law, he hal Deportedtalien at-
      be excluded from admission to the United States whether such temPting                  to reenter,
                                                                               guilty of a feluny.
      deportation took place before or after the enactment of this Act
      and if he enters or attempts to enter the United States after the
      expiration of sixty days after the enactment of this Act, he shall
     be guilty of a felony and upon conviction thereof       shall, unless a
     different penalty is otherwise expressly provided by law, be punished
     by imprisonment for not more than two years or by a fine of not Punishment for.
     more than $1,000, or by both such fine and imprisonment.
         (b) For the purposes of this section an alien ordered deported Alien ordered de-
      (whether before or after the enactment of this Act) who has left portedUnited who     has left
                                                                                        States,       the
                                                                                                  consid-
     the United States shall be considered to have been deported in pur-     ered   lawfully   deported.
     suance of law, irrespective of the source from which the expenses
     of his transportation were defrayed or of the place to which he
     departed.
        (c) An alien subject to exclusion from admission to the United Ship employee liable
     States under this section who is employed upon a vessel arriving        to exclusion not per-
    in the United States shall not be entitled to any of the landing mitted to land.
    privileges allowed by law to seamen.
        (d) So much of section 3 of the Immigration Act of 1917 [U. S. Restriction on read-
    C. Title 8, § 136(j)] as reads as follows: "persons who have been        missions.
                                                                                Matter stricken out.
    deported under any of the provisions of this Act, and who may
    again seek admission within one year from the date of such depor- e Vol. 39,p.876, amend-
    tation unless prior to their reembarkation at a foreign port or od.
   their attempt to be admitted from foreign contiguous territory the U. 8. Code, p.132.
   Secretary of Labor shall have consented to their reapplying for
   admission" is amended to read as follows: " persons who have
   excluded from admission and deported in pursuance of law, and been  who
                                                                               Matter substituted.
   may again seek admission within one year from the date of such
   deportation, unless prior to their reembarkation at a place outside
   the United States or their attempt to be admitted from foreign
  contiguous territory the Secretary of Labor has consented to        their
  rea ping for admission ".
          )eSo much of section 18 of the Immigrat'oa Act of 1917 [U. S. a Bringing in deported
  C. itle 8, § 154] as reads as follows: " or knowingly to bring to the lien. Matter stricken out.
 United States at any time within one year from the date of deporta- e dVol.39,p.888,
                                                                              .
                                                                                               amend-
  tion any alien rejected or arrested and deported under any rovision U. S. Code, p. 138.
 of this Act, unless prior to reembarkation the Secretary o Labor has
 consented that such alien shall reapply for admission, as required by
 section 3 hereof " is amended to read as follows: "or knowingly toI Matter substituted.
 bring to the United States any alien excluded or arreste 4and
 deported under any provision of law until such time as such alien
 may be lawfully entitled to reapply for admission to the United
 States ". The amendment made by this subsection shall take effect Effective in 60 days.
 on the expiration of sixty days after the enactment of this Act, but
 the provision amended shall remain in force for the collection of any
fine incurred before the effective date of such amendment.
      SEc. 2. Any alien who hereafter enters the United States at an,,,levPunishment           for 1-
                                                                             gal Pi, ry.
time or place other than as designated by immigration officials 01
eluides examination or inspection by immigration officials, or obtains
entry to the United States by a willfully false or misleading rep re-
sentation or the willful concealment of a material fact, shall be
guilty of a misdemeanor and upon conviction shall be punished by
imprisonment for not more tan one year or
than $1,000, or by both such fine and imprisonment.
                                                          by
                                                      a fine of not more




                                  ....
                                           prw"KfMMWWT
                                                                                                                 I
                                                                                                            A5
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1552                SEVENTIETH CONGRESS.                   SESs. II. Cus. 690-692.         1929.
   AUeo under sentence
deportedt after termi- SEC. 3. .A.n alien. . sentenced to imprisonment shall not   . be. deported
nation ot imprison- und er any prov1s1on
ment.                                           o f l aw       .
                                                           until  a fter the  termination    of the
                       imprisonment. For the purposes of this section the imprisonment
                       shall be considered as terminated upon the release of the alien from
                       confinement, whether or not he is subject to rearrest or further con­
                       finement in respect of the same offense.
   Detailed record of                                   · t·10n of any al'1en of any oft'ense under
convictions to be notl- SEO. 4• Upon the fina1 conv1c
� to secretary ot this Act in any court of record it shall be the duty of the clerk of the
   a r.
  bo
                       court to notify the Secretary of Labor, giving the name af the alien
                       convicted, the nature of the offense of which convicted, the sentence
                       imposed, and, if imprisoned, the place of imprisonment, and, if
                       known, the place of birth of such ahe� his nationality, and the time
                       when and place where he entered the united States.
           n
               ca e O SEO. 5. Terms defined in the Immigration Act of 1924 shall, when
ti T� at pplimtg{�-
ti: Act.               used in this Act, have the meaning assigned to such terms in that
                       Act.
                          Approved, March 4, 1929.




                                                                                                      A6
